                   Case 18-10601-MFW              Doc 54       Filed 03/20/18        Page 1 of 5


                              UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF DELAWARE
 -----------------------------------------------------------x
In re                                                         Chapter 11

The Weinstein Company Holdings LLC et al.                        Case No. 18-10601

                                     Debtors.

-----------------------------------------------------------x

            INITIAL PROTECTIVE OBJECTION AND RESERVATION OF
              RIGHTS OF FPF LENDING, LLC TO DEBTORS’ MOTION
       FOR ORDERS (I) APPROVING THE DIP FACILITY, (II) AUTHORIZING USE
            OF CASH COLLATERAL, (III) PROVIDING SUPERPRIORITY
         ADMINISTRATIVE EXPENSE STATUS, (IV) GRANTING ADEQUATE
       PROTECTION, (V) MODIFYING THE AUTOMATIC STAY, (VI) GRANTING
           RELATED RELIEF AND (VII) SCHEDULING A FINAL HEARING

           FPF Lending, LLC (the “New Party Lender”) by and through its undersigned counsel,

hereby filed this Initial Protective Objection and Reservation of Rights (the “Protective

Objection”) to the Debtors’ Motion for Orders (I) Approving the DIP Facility, (II) Authorizing

Use of Cash Collateral, (III) Providing Superpriority Administrative Expense Status, (IV)

Granting Adequate Protection, (V) Modifying the Automatic Stay, (VI) Granting Related Relief,

and (VII) Scheduling a Final Hearing [Docket No. 11] (the “DIP Motion”).1 In support hereof,

the New Party Lender respectfully states as follows:

                                         PROTECTIVE OBJECTION

           1.       The Debtors acknowledge that they received DIP financing offers on better

economic terms and with lighter restrictions on the operation of their business than those

included in the DIP Facility. See DIP Motion ¶ 27; Del Genio Aff, ¶¶ 66-68. Indeed, the Debtors

reference what is believed to be the New Party Lender’s proposal, which the Debtors state

offered compelling terms that resulted in the parties moving forward with definitive

documentation. See Id. Despite the Debtors’ statements about the fast paced prepetition diligence

1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the DIP Motion.


{00022619. }
              Case 18-10601-MFW          Doc 54     Filed 03/20/18     Page 2 of 5


process and potential challenges in understanding the complex capital structure, the Debtors

concede (as they must) that ultimately it was the Debtors who determined to move forward with

the current DIP Facility with the Union Bank as the New Party Lender never exercised a due

diligence out nor indicated any intention of doing so. What is difficult to understand is the

business reason why the estate fiduciaries would do so.         The New Party Lender remains

committed to providing postpetition financing on more favorable terms and has repeatedly made

the Debtors aware of such commitment. Thus, to the extent any interim relief is granted, it

should be limited and restricted to what the Debtors demonstrate is truly needed “to avoid

immediate and irreparable harm to [the Debtors and their estates] pending the final hearing.

Local Rule 4001-2(b).

       2.      The DIP Motion requests the Court approve at the interim hearing, on less than

fourteen hours notice, $2 million in fees comprised of the Upfront Fee, Exit Fee and Backstop

Fee (which amount does include the monthly Agent Fee) to loan $7.5 million for the interim

period pending a Final Hearing. Such extraordinary relief is not only unnecessary, it is also

detrimental to the Debtors estates and forever precludes any alternative financing in the future,

including financing that the Debtors themselves found compelling.            Moreover, given the

notoriety of these proceedings and that they are well covered by the media and closely

monitored, the proceedings will be subject to scrutiny and critique. Thus, the integrity of the

process and transparency requires consideration of the issues raised in this Protective Objection

and only the scope of relief necessary for the Debtors to get through to a Final Hearing.

       3.      The terms proposed by the New Party Lender will likely be attractive to an

official committee of unsecured creditors and a yet to be appointed committee should not be

foreclosed from the opportunity to consider alternatives that would be beneficial to the estates

and their creditors.    These circumstances, as well as the highly unusual circumstances that

precipitated the filing of these Chapter 11 Cases warrant caution.
                        {00022619. }                                   -2-
                Case 18-10601-MFW              Doc 54     Filed 03/20/18       Page 3 of 5


       4.       Accordingly, the relief granted in the DIP Motion should be limited as follows:

                (a)      Upfront Fee: The Upfront Fee of 2% should only apply to the initial
                         interim funding amount which, based on the Debtors’ forecast, is the
                         maximum amount required by the Debtors for the next four weeks of these
                         Chapter 11 Cases.

                (b)      Exit Fee: Approval of a 2% Exit Fee is premature and unnecessary at this
                         time. The Exit Fee should be considered at the Final Hearing.

                (c)      Backstop Fee. The Backstop Fee adds an additional $1 million in
                         principal to the DIP Facility. The Backstop Fee is substantial and based on
                         final relief and should be considered only at a Final Hearing.

       5.       The New Party Lender is committed to providing financing on more favorable

terms set forth below:

Key DIP Terms                           Current DIP Facility              New Party Lender

Interest Rate                           LIBOR + 950 with a 1.5%           7%
                                        LIBOR floor (current three
                                        month LIBOR is 2.2%)

Default Rate                            3%                                2%

Scheduled Maturity Date                 125 days                          140 days

Milestones                              Inextricably tied to the sale     Provide time cushion between
                                        process and milestones,           a sale milestone and event of
                                        including events of default for   default
                                        failure to reach specific
                                        milestones

Permitted Variance                      $600,000                          $750,000

Priming Liens                           DIP Lender is priming its own     No priming liens
                                        prepetition liens

Backstop Fee                            4%                                None



       6.       There is a real benefit (and no harm) in allowing an open and competitive process

to proceed and tailoring the relief granted on the first day of these Chapter 11 Cases. The DIP

Lender is certainly adequately protected because it will among other things, receive pay downs

on both its prepetition outstanding obligations and postpetition obligations directly from the

                         {00022619. }                                          -3-
              Case 18-10601-MFW          Doc 54     Filed 03/20/18     Page 4 of 5


receipts set aside in a lockbox account and placed in an account controlled by the DIP Lender

with the ability to regularly sweep the account. See Cash Management Motion, ¶¶ 14, 18; DIP

Motion ¶ 31(v); DIP Credit Agreement § 2.03(b). It appears the DIP Lender will utilize those set

aside funds in accordance with the DIP Credit Agreement, 50% of which is will be used to pay

down prepetition obligation and 50% of which will be used to pay down postpetition obligations

on an ongoing basis.

       7.      In sum, given the context and unique circumstances of these proceedings, this

aspect of relief (particularly on fourteen hours notice) should be especially scrutinized and

tailored to what is truly a demonstrable need. In order to not prevent consideration of alternative

financing and irreversibly harm the estates, the approximately $2.2 million in extraneous fees

should not be considered or approved until a Final Hearing.

                                      RESERVATION OF RIGHTS

       8.      The New Party Lender reserves its rights to supplement, modify and amend this

Protective Objection in writing or orally at or prior to any hearing on the DIP Motion. In

addition, the New Party Lender reserves all other rights, including but not limited to, all rights

relating to any prepetition breaches by the Debtors or other parties of the respective governing

term sheets or other agreements.




                       {00022619. }                                    -4-
               Case 18-10601-MFW          Doc 54     Filed 03/20/18     Page 5 of 5




                                         CONCLUSION

       WHEREFORE, the New Party Lender respectfully requests that the Court tailor and

limit the relief granted in the DIP Motion as set forth herein and grant other and further relief as

is just and proper.


Dated: March 20, 2018
       New York, New York
                                                   ARENT FOX LLP

                                                   /s/ Robert M. Hirsh
                                                   Robert M. Hirsh
                                                   Beth M. Brownstein
                                                   1675 Broadway
                                                   New York, New York 10019
                                                   Telephone: (212) 484-3900
                                                   Facsimile: (212) 484-3990
                                                   Email: robert.hirsh@arentfox.com
                                                          beth.brownstein@arentfox.com

                                                   Counsel for FPF Lending, LLC




                       {00022619. }                                    -5-
